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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :            S7 19cr0091-03
 UNITED STATES OF AMERICA                :                 (DLC)
                                         :
                -v-                      :                 ORDER
                                         :
 VICTOR ROJAS-BASCOPE,                   :
                          Defendant.     :
                                         :
 --------------------------------------- X


DENISE COTE, District Judge:

     An Order dated November 1, 2019 unsealed Indictment S7

19cr0091.   On November 10, 2020, the Government informed the

Court that the defendant arrived has arrived in this district

from the Southern District of Florida and will be presented and

arraigned before a Magistrate Judge.      The defendant is expected

to consent to detention without prejudice to a future application

for bail.   It is hereby

     ORDERED that a telephone conference with the Government and

counsel for defendant Rojas-Bascope will be held on November 13,

2020 at 2 p.m.   A trial date will be set at that time.

     IT IS FURTHER ORDERED that this conference will proceed

without the participation of the incarcerated defendant because

of the limitations on the Court’s ability to arrange for the

participation of incarcerated defendants in remote proceedings

during the pandemic.
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     IT IS FURTHER ORDERED that counsel shall order a copy of

the transcript of the conference and promptly after its receipt

either provide a copy of the transcript or read it to the

defendant.

     IT IS FURTHER ORDERED that the dial-in credentials for the

November 10 telephone conference are the following:

            Dial-in:          888-363-4749
            Access code:      4324948

     IT IS FURTHER ORDERED that the parties shall use a landline

if one is available.


Dated:      New York, New York
            November 10, 2020

                                    ____________________________
                                            DENISE COTE
                                    United States District Judge
